       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 1 of 30



             IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LUCINDA LITTLE, et al.,
                   Plaintiffs,

                    v.                                2:17-CV-01562
                                                   (JUDGE SLOMSKY)
EMILIO VASQUEZ, et al.,
                  Defendants.


                                  ORDER
     AND NOW, this            day of                       ,    2017,    upon

consideration of the Motion to Dismiss of Defendants Pedro Cortés and the

Department of State, Bureau of Commissions, Elections and Legislation, and any

opposition thereto, it is hereby ORDERED that the motion is GRANTED.

Plaintiffs’ Amended Complaint is hereby DISMISSED WITH PREJUDICE.

     IT IS SO ORDERED.

                                         BY THE COURT:




                                         JOEL H. SLOMSKY, J.
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 2 of 30



              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LUCINDA LITTLE, et al.,
                   Plaintiffs,

                      v.                                 2:17-CV-01562
                                                      (JUDGE SLOMSKY)
EMILIO VASQUEZ, et al.,
                  Defendants.


 MOTION TO DISMISS OF SECRETARY CORTÉS AND DEPARTMENT
    OF STATE BUREAU OF COMMISSIONS, ELECTIONS AND
                       LEGISLATION
      Defendants Pedro A. Cortés, Secretary of the Commonwealth, and the

Department of State, Bureau of Commissions, Elections and Legislation hereby

move to dismiss Plaintiffs’ Amended Complaint pursuant to Rules 12(b)(1), 12(b)(6)

and 12(b)(7) of the Federal Rules of Civil Procedure, and incorporate by reference

the attached Brief in Support of their Motion to Dismiss.

                                             Respectfully submitted,

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                                             General Counsel

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      Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 3 of 30



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                                        Cortés, Secretary of the
                                        Commonwealth, and Department of
                                        State Bureau of Commissions,
                                        Elections and Legislation

DATE: June 19, 2017




                                    2
         Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 4 of 30



                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LUCINDA LITTLE, et al.,
                   Plaintiffs,

                        v.                                   2:17-CV-01562
                                                          (JUDGE SLOMSKY)
EMILIO VASQUEZ, et al.,
                  Defendants.


   BRIEF OF SECRETARY CORTÉS AND DEPARTMENT OF STATE,
   BUREAU OF COMMISSIONS, ELECTIONS AND LEGISLATION IN
    SUPPORT OF MOTION TO DISMISS PLAINTIFFS’ AMENDED
                       COMPLAINT
        Defendants Pedro A. Cortés, Secretary of the Commonwealth, and the

Department of State, Bureau of Commissions, Elections and Legislation present this

brief in support of their motion to dismiss the above-captioned action against them.

   I.      STATEMENT OF THE CASE

        This is a civil action for declaratory and injunctive relief brought pursuant to

42 U.S.C. § 1983 seeking to invalidate the results of a special election held on March

21, 2017, and to enjoin the winning candidate of that special election from holding

office. (Doc. 2). This stand-alone special election was held to fill a vacant seat in
        Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 5 of 30



the Pennsylvania House of Representatives for the 197th Legislative District in

Philadelphia. (Id., ¶ 17).1

      Plaintiffs in this case are Republican candidate Lucinda Little, Green Party

supported write-in candidate Cheri Honkala, the Republican City Committee of

Philadelphia, and the Republican State Committee. (Id., ¶¶ 1-5). Defendants are

Emilio Vazquez (“Representative Vazquez”), the Philadelphia City Commissioners

(“City Commissioners”), Secretary of the Commonwealth Pedro Cortés

(“Secretary”), the Department of State, Bureau of Commissions, Elections and

Legislation (“Department”), and the Philadelphia City Democratic Committee. (Id.,

¶¶ 6-12).

      Plaintiff Little was the lone candidate appearing on the special election ballot.

(Id., ¶ 21). Plaintiff Honkala, Representative Vazquez, and others mounted write-in

campaigns. (Id.). Based on the certified returns, Representative Vazquez won the

special election with 1,972 write-in votes; Plaintiff Honkala received 286 write-in

votes, Plaintiff Little received 201 votes, while various other write-in candidates


1
 The Amended Complaint starts its assertion of facts incorrectly, alleging that “the
special election was ordered by the Secretary of the Commonwealth.” (Doc. 2, ¶
17). The special election was, rather, ordered by the Speaker of the House in
accordance with the Pennsylvania Election Code. See 25 P.S. § 2778 (presiding
officer of the House issues a writ of election to fill vacancies). See Press Release,
Speaker of the House Mike Turzai, Speaker Announces Special Election for the
197th      Legislative    District      (Jan.     18,      2017),     available    at
http://www.repturzai.com/NewsItem.aspx?NewsID=265761 (last visited June 14,
2017).
                                          2
        Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 6 of 30



received the remaining write-in votes. (Id., ¶ 23). The Department certified the

results of the special election on April 3, 2017.2 Representative Vazquez was sworn

in as the State Representative for the 197th Legislative District on April 5, 2017.3

      Plaintiffs filed a Complaint on April 6, 2017 (Doc. 1), and then filed an

Amended Complaint on April 7, 2017. (Doc. 2). The Amended Complaint seeks to

enjoin the implementation of the special election results held on March 21, 2017,

and find the special election void, and to enjoin the results of that special election

and to enjoin Representative Vazquez from holding the Office of State

Representative. (Id., pp. 5-6). Plaintiffs assert violations of the First and Fourteenth

Amendments to the U.S. Constitution. (Id., ¶ 24(h)). Plaintiffs also assert violations

of the Federal Voting Rights Act. (Id., ¶ 16). The Amended Complaint alleges

various violations of the Pennsylvania Election Code by official district election

officials and by party election workers. These include allegations that both district

election officials and party workers misinformed voters, improperly pressured voters



2
  See Pa. Dep’t of State Official Returns, Special Election, Representative in the
General Assembly, 197th Legislative District (Apr. 3, 2017), available at
http://www.dos.pa.gov/VotingElections/CandidatesCommittees/RunningforOffice/
Documents/197th%20special%20election%20official%20returns.pdf (last visited
June 14, 2017).
3
 See Press Release, Pa. House Democratic Caucus, Vazquez sworn in to serve 197th
District   in   North     Philadelphia   (Apr.    5,   2017),    available    at
http://www.pahouse.com/InTheNews/NewsRelease/?id=83595 (last visited June
14, 2017).
                                           3
          Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 7 of 30



to support a particular candidate, improperly supplied or confiscated write-in stamps,

improperly “assisted” voters inside the voting booth, and/or improperly permitted

the presence of campaign literature and party workers within the polling place. (Id.,

¶¶ 24-27). The Amended Complaint alleges that these actions as alleged destroyed

the fairness of the special election. (Id., ¶ 28). There are no specific allegations in

the Amended Complaint regarding the Secretary or the Department.               Rather,

Plaintiffs contend that the City Commissioners, the Secretary, and the Department

failed to properly supervise the election. (Id., ¶¶ 28, 31-32).

         Count I of the Amended Complaint alleges violations of the Election Code,

First and Fourteenth Amendment rights of association, vote, speech, and

fundamental due process. (Id., ¶¶ 35-37). Count I seeks that the special election be

declared “null and void.” (Id., p. 26, Prayer for Relief). Count II seeks an order to

“preliminarily and permanently enjoin the election results and order a new special

election.” (Id., ¶ 44).

         The Secretary and the Department now move to be dismissed as parties in this

action.

   II.      STANDARDS OF REVIEW

         The Secretary and the Department seek dismissal of Plaintiffs’ claims

pursuant to Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter




                                           4
          Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 8 of 30



jurisdiction, or, in the alternative, pursuant to Rule 12(b)(6) for failure to state a

claim, or Rule 12(b)(7) for failure to join indispensable parties.

      Congress has vested the United States’ federal district courts with original

jurisdiction over all civil actions arising under the Constitution, laws, or treaties of

the United States. 28 U.S.C. § 1331.4 Federal courts may adjudicate cases and

controversies only as allowed under Article III of the United States Constitution.

U.S. Const, art. III, § 2. A motion to dismiss pursuant to Federal Rule of Civil

Procedure 12(b)(1) challenges the subject court’s “very power to hear” and consider

the merits of the case. Petruska v. Gannon Univ., 462 F.3d 294, 302 (3d Cir. 2006)

(quoting Mortensen v. First Fed. Sav. & Loan Ass’n, 549 F.2d 884, 891 (3d Cir.

1977)).

      A motion to dismiss under Rule 12(b)(1) can take one of either two (2) forms:

it can attack a complaint on its face, known as a “facial attack,” or it can attack the

existence of subject matter jurisdiction in fact, commonly referred to as a “factual

attack.” Mortensen, 549 F.2d at 891. A factual attack argues that plaintiff’s claims

do not comport with jurisdictional prerequisites, whereas a facial attack raises a

pleading deficiency. United States ex rel. Atkinson v. Pa. Shipbuilding Co., 473 F.3d


4
  42 U.S.C. § 1983 provides relief against “every person who, under color of any
statute, ordinance, regulation, custom, or usage of any State . . . subjects, or causes
to be subjected, any citizen of the United States or other person with the jurisdiction
thereof to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States.”
                                           5
        Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 9 of 30



506, 514 (3d Cir. 2007). In a factual challenge to jurisdiction, “‘the plaintiff [has]

the burden of proof that jurisdiction does in fact exist,’ the court ‘is free to weigh the

evidence and satisfy itself as to the existence of its power to hear the case,’ and ‘no

presumptive truthfulness attaches to [the] plaintiff’s allegations . . . .’” Hartig Drug

Co. v. Senju Pharm.Co., 836 F.3d 261, 268 (3d Cir. 2016) (quoting Mortenson, 549

F.2d at 891). Indeed, “a 12(b)(1) factual challenge strips the plaintiff of the

protections and factual deference provided under 12(b)(6) review.” Id. The Third

Circuit has noted, however, that a Rule 12(b)(1) motion is facial in nature when filed

prior to any answer. See Cardio-Med. Assoc. Ltd. v. Crozer-Chester Med. Ctr., 721

F.2d 68, 75 (3rd. Cir. 1983) (“[D]efendants' motion under Rule 12(b)(1) was filed

prior to any answer. The motion is therefore a facial challenge to jurisdiction.”)

(citing Mortensen, 549 F.2d at 891)). In this case, because the Secretary and the

Department filed a pre-answer motion for lack of subject matter jurisdiction, their

motion is facial. Nevertheless, Plaintiffs’ Amended Complaint fails to survive

scrutiny under even the facial standard.

      Additionally, however, “[i]f a claim does not present a live case or

controversy, the claim is moot, and a federal court lack jurisdiction to hear it.”

United States v. Virgin Islands, 363 F.3d 276, 285 (3d. Cir. 2004). A challenge for

mootness is properly brought by a Rule 12(b)(1) motion, and constitutes a factual

attack on the jurisdictional facts; thus, the court may consider evidence outside the


                                            6
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 10 of 30



pleadings. See Gould Elecs. Inc. v. United States, 220 F.3d 169, 176-77 (3d. Cir.

2000). As is relevant here, this Court has no subject matter jurisdiction over this

controversy because it has become moot.

      The Secretary and the Department also seek dismissal of the Amended

Complaint on the basis that Plaintiffs have failed to state a claim upon which relief

can be granted. See Fed. R. Civ. P. 12(b)(6). Rule 8 of the Federal Rules of Civil

Procedure requires that a complaint set forth “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). For a

complaint to survive dismissal under the applicable Rule 12(b)(6) standard, it “must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The court must therefore “accept all

factual allegations as true, construe the complaint in the light most favorable to the

plaintiff, and determine whether, under any reasonable reading of the complaint, the

plaintiff may be entitled to relief.” Fleisher v. Standard Ins. Co., 679 F.3d 116, 120

(3d Cir. 2012). In evaluating the sufficiency of a complaint, a court must accept all

well-pleaded factual allegations as true and draw all reasonable inferences in favor

of the non-moving party. Revell v. Port Auth., 598 F.3d 128, 134 (3d Cir. 2010).

Here, the factual allegations in the Amended Complaint against the Secretary and




                                           7
          Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 11 of 30



the Department, together with reasonable inferences that may be drawn from them,

are wholly insufficient to withstand the motion to dismiss.

      Finally, the Secretary and the Department move to dismiss the Amended

Complaint under Rule 12(b)(7). Rule 19 determines when joinder of a particular

person is required. This involves a three-part test: (1) the court must determine

whether the absent party is a necessary party; (2) if an absent party is necessary, the

court must then determine whether the absent party may be joined to the case; and

(3) if the absent party cannot be joined, the court must determine whether the absent

party is indispensable. See HB Gen. Corp. v. Manchester Partners, L.P., 95 F.3d

1185, 1190 (3d Cir.1996). If the absent party is indispensable, the action must be

dismissed. Id. Based on Plaintiffs’ allegations in the Amended Complaint, the

district election board members are indispensable parties in this action.

   III.     ARGUMENT

      A.       Plaintiffs Have Improperly Brought Their Constitutional Claims
               and Have Wrongly Sued the Secretary and the Department.
      Plaintiffs have alleged that the actions of the Defendants (as well as numerous

others not party to the present ligation) “violated the Pennsylvania Election Code,”

which violations resulted in violations of “the First and Fourteenth Amendments of

the United States Constitution in terms of right of association, right to vote and right




                                           8
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 12 of 30



to speech, and further fundamental due process . . . .” (Doc. 2, ¶¶ 36, 37). Plaintiffs

cannot succeed on these claims as they have been pled.

      In that Plaintiffs claim that the Secretary and the Department violated the

Pennsylvania Election Code, the United States Supreme Court has held that the

Eleventh Amendment bars such claims. Specifically, in Pennhurst State School &

Hospital v. Halderman, 465 U.S. 89 (1984), the operative question was whether the

plaintiff’s claim that officials of Pennsylvania had “violated state law in carrying out

their official duties at Pennhurst is one against the state and therefore barred by the

Eleventh Amendment.” 465 U.S. at 103 (emphasis in original); see also 465 U.S. at

116 (“[t]he reasoning of our recent decisions on sovereign immunity thus leads to

the conclusion that a federal suit against state officials on the basis of state law

contravenes the Eleventh Amendment when—as here—the relief sought and ordered

has an impact directly on the State itself”).

      In holding that these claims were barred by the Eleventh Amendment, the

Court reasoned as follows:

      A federal court’s grant of relief against state officials on the basis of
      state law, whether prospective or retroactive, does not vindicate the
      supreme authority of federal law. On the contrary, it is difficult to think
      of a greater intrusion on state sovereignty than when a federal court
      instructs state officials on how to conform their conduct to state law.
      Such a result conflicts directly with the principles of federalism that
      underlie the Eleventh Amendment.
                                          ***


                                           9
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 13 of 30



      In sum . . . neither pendent jurisdiction nor any other basis of
      jurisdiction may override the Eleventh Amendment.[] A federal court
      must examine each claim in a case to see if the court’s jurisdiction over
      that claim is barred by the Eleventh Amendment. We concluded above
      that a claim that state officials violated state law in carrying out their
      official responsibilities is a claim against the State that is protected by
      the Eleventh Amendment . . . . We now hold that this principle applies
      as well to state-law claims brought into federal court under pendent
      jurisdiction.

465 U.S. at 106, 121 (footnote omitted). Plaintiffs’ state-law claims are barred and

cannot provide a legal basis for the injunctive relief sought.

      Further, “[b]ecause vicarious liability is inapplicable to . . . § 1983 suits, a

plaintiff must plead that each Government-official defendant, through the official’s

own individual actions, has violated the Constitution.” Iqbal, 556 U.S. at 676. “In

other words, supervisors may not be held liable under § 1983 based on the

unconstitutional conduct of their subordinates.” Lew-Bey v. Wolff, No. 16-3685,

2016 WL 3997248 at *3 (E.D. Pa. July 25, 2016) (citing Barkes v. First Corr. Med.

Inc., 766 F.3d 307, 316 (3d Cir. 2014), rev’d on other grounds, Taylor v. Barkes,

135 S.Ct. 2042 (2015)). “Instead, a supervisor must have directly participated in the

violation of plaintiff’s rights or knowingly acquiesced in the unconstitutional

conduct of his or her subordinates.” Id. (citing Barkes).

      Here, Plaintiffs have sued government officials charged only with ministerial

duties and high-level oversight of the election. Their allegations center on the

alleged misdeeds of district election boards and party-affiliated volunteers.

                                          10
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 14 of 30



      The latter—party-affiliated volunteers—are plainly not subject to the

discipline or control of any government official or entity, and any wrongdoing these

private actors do may not form the basis for a § 1983 claim. Lugar v. Edmondson

Oil Co., 457 U.S. 922, 937 (1982) (“conduct allegedly causing the deprivation of a

federal right [must] be fairly attributable to the State”).

      The former—the members of district election boards—are officers elected or

appointed pursuant to the Pennsylvania Constitution. Pa. Const. art. VII, § 11.

While county election officials provide trainings for the individuals serving in these

roles, once they enter into office, they are not subject to “supervision” by state and

county election officials, whether that be micromanagement of the conduct of the

election at a particular polling place, or removal from office.5 The Pennsylvania

Constitution provides no mechanism for these constitutional officers to be

summarily ousted or directed by state or county officials; rather, the impeachment

and other removal processes are the exclusive means to remove a district election

official for malfeasance or nonfeasance. Pa. Const. art. VI, §§ 6, 7; In re Removal



5
  The relationship between the either the City Commissioners on the one hand or the
Secretary and the Department on the other and district election board officials is
virtually the same as that between those entities and any other independently-elected
officer in a county, be that a sheriff, prothonotary or judge of the court of common
pleas—all of whom have responsibilities under the Election Code. While each of
these entities typically communicate and collaborate with state or county election
officials, neither the City Commissioners, the Secretary or the Department has any
independent power over them.
                                           11
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 15 of 30



of Minority Dist. Election Inspector, 1 Pa. D. & C.2d 783, 784 (Lackawanna Quar.

Sess. 1955) (“District election officers are constitutional officers and are subject to

removal only in the manner provided by the Constitution. This court has no

jurisdiction in a summary proceeding to effect the removal of an election officer.”);

In re Carbondale Dist. Election Bd., 62 Pa. D. & C. 49, 50 (Lackawanna Quar. Sess.

1948). 6 While, as a practical matter, many district election officials will seek

guidance from county election staff, county and state officials have no power, much

less a duty, to “supervise” district election officials in the exercise of their duties.

      Even assuming, arguendo, a power and duty to supervise, liability under

§ 1983 could not attach. “Under Section 1983, a supervisor may be liable for her

failure to train or supervise her employees where the failure amounts to ‘deliberate

indifference’ to the rights of persons with whom those employees will come into

contact. . . . The Third Circuit has clarified that ‘deliberate indifference’ may exist

where ‘the need for more or different training is obvious and inadequacy very likely

to result in violation of constitutional rights.’” Whitfield v. City of Phila., 587 F.

Supp. 2d 657, 666 (E.D. Pa. 2008) (quoting Carter v. City of Phila., 181 F.3d 339,

357 (3d Cir. 1999) (internal quotations modified).



6
  Even in the case where a local election officer is appointed to fill a vacancy, the
same provisions for removal apply; the office’s elective character means that the
removal process is the one applicable to elected officers. Op. Pa. Att’y Gen., Case
of Curley, 1895 WL 3655, at *5 (Mar. 26, 1895).
                                           12
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 16 of 30



      Plaintiffs’ invocation of § 1983 as a basis of relief against the Secretary

Commonwealth and the Department of State is contrary to established law. Because

§ 1983 provides for a cause of action only against persons who “subject[], or cause[]

to be subjected” any person to a deprivation of federally-secured rights, the courts

have repeatedly rejected lawsuits premised on respondeat superior or vicarious

liability theories. Section 1983 “cannot be easily read to impose liability vicariously

on governing bodies solely on the basis of the existence of an employer-employee

relationship with a tortfeasor.” Bd. of Cnty. Comm'rs of Bryan Cnty., Okla. v. Brown,

520 U.S. 397, 403 (1997) (quoting Monell v. Dep't of Soc. Servs. of City of N.Y., 436

U.S. 658, 692 (1978)). Rather, “we have required a plaintiff seeking to impose

liability on a municipality under § 1983 to identify a municipal ‘policy’ or ‘custom’

that caused the plaintiff's injury.” Bryan Cnty., 520 U.S. at 403.

      Rather than a “deliberate indifference” to proper polling place procedures, or

a “policy” to permit illegal conduct, Philadelphia election officials have a robust

training program in place to instruct election officials on the Election Code

provisions regulating conduct at the polling place, and have made every reasonable

effort to ensure proper conduct at the polling place. See, e.g., Training Materials,

Office of the Phila. City Comm’rs, https://www.philadelphiavotes.com/en/election-

board-officials/training-materials (last visited June 14, 2017). If a district election




                                          13
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 17 of 30



official were determined to subvert the law, there is no amount or quality of training

that could deter a determined bad actor.

      Finally, even assuming that there were a basis upon which the Court could

order relief as pled in the Amended Complaint, the Secretary has no power to order

special elections for the Pennsylvania House of Representatives; that power is

allocated to the Speaker of the House in his capacity as that body’s presiding officer.

25 P.S. § 2778 (“Whenever a vacancy shall occur . . . the presiding officer of such

house shall . . . issue a writ of election . . . .”) (emphasis added). The issuance of

this writ triggers various powers and duties on the part of the Secretary and the

county boards of election to organize a special election, but these powers and duties

exist only upon the proper issuance of the writ.7

      B.     Plaintiffs’ Claims Related to the Special Election Are Moot.

      The crux of the Amended Complaint relates to various alleged violations of

the Pennsylvania Election Code by district election officials and by party election


7
  Indeed, none of the parties involved in this process acts ex proprio motu. Just as
the Secretary and the county boards of election only have a responsibility to organize
a special election if and when a writ is issued, the Speaker may only issue a writ
when there is a vacancy in the membership of the House of Representatives. 25 P.S.
§ 2778 (“Whenever a vacancy shall occur . . . the presiding officer of such house
shall . . . issue a writ of election . . . .”) (emphasis added). Absent a vacancy, there
is no basis upon which to call a special election. If a vacancy is created, there is no
need for further proceedings to order the Secretary, the Department or anyone else
to respect their obligations under the Election Code; such an “obey the law”
injunction is subject to vacatur. McLendon v. Cont’l Can Co., 908 F.2d 1171, 1182
(3d Cir. 1990).
                                           14
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 18 of 30



workers during the March 2017 special election.            The Amended Complaint,

structured as a pleading for emergency relief, sets forth a request for an injunction,

enjoining the election results and preventing Representative Vazquez from taking

office. (Doc. 2, pp. 5-6). These claims, and attendant requests for relief, are moot,

and properly dismissed pursuant to Rule 12(b)(1).

      “[T]he exercise of judicial power depends upon the existence of a case or

controversy.” Chong v. District Dir., I.N.S., 264 F.3d 378, 383 (3d. Cir. 2001).

Pursuant to well-established Third Circuit jurisprudence, “a case is moot when the

issues presented are no longer ‘live’ or the parties lack a legally cognizable interest

in the outcome.” Int'l Brothd. of Boilermakers v. Kelly, 815 F.2d 912, 915 (3d Cir.

1987); see also Longendorfer v. Cameron, 2017 WL 2234195, at *2 (E.D. Pa. Apr.

28, 2017) (“A court’s ability to grant effective relief lies at the heart of the mootness

doctrine.”) (citing Wilson v. Reilly, 2006 WL 73156, at *3 (3d Cir. Jan. 12, 2006)).

There is no live controversy with respect to Plaintiffs’ claims because the special

election is over. Insofar as Plaintiffs were attempting to enjoin the Secretary from

certifying the special election results, that certification occurred on April 3, 2017.

Thus, the results of the special election have been certified and Representative

Vazquez was sworn into office on April 5, 2017. Even assuming the Court could

entertain these claims, it could afford no cognizable relief in terms of undoing the




                                           15
          Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 19 of 30



election. Accordingly, these claims, and their accompanying requests for injunctive

relief, are moot.

          C.    Plaintiffs Have Failed to Allege Facts to Support a Voting Rights
                Act Claim.
          While Plaintiffs briefly urge that “Jurisdiction is also found since there are

violations of the Federal Voting Rights Act,” (Doc. 2, ¶ 16), they do not appear to

plead facts in support of any Voting Rights Act claim, which are largely oriented

towards remedying discrimination on the basis of race, rather than towards

guaranteeing optimal administration of elections generally. See, e.g., 52 U.S.C.

§ 10301(a) (“No voting qualification . . . or standard, practice, or procedure shall be

. . . applied by any State . . . which results in a denial . . . of the right of any citizen

. . . to vote on account of race or color . . . .”) (emphasis added). Nor do they revisit

the Voting Rights Act in their summary of Count I or Count II or in the prayer for

relief. Because Plaintiffs, for reasons best known to themselves, omitted any actual

allegations which would have supported such a claim, it cannot form a basis for

relief.

          D.    Plaintiffs cannot obtain injunctive relief.

          The grant of injunctive relief is an “extraordinary remedy which should be

granted only in limited circumstances.” Am. Tel. & Tel. Co. v. Winback and

Conserve Program, Inc., 42 F.3d 1421 (3d Cir. 1994) (quoting Frank’s GMC Truck



                                            16
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 20 of 30



Ctr. v. Gen. Motor Corp., 847 F.2d 100, 102 (3d Cir.1988)), cert. denied, 514 U.S.

1103 (1995).

      The four factors that Plaintiffs must establish to be entitled to this

extraordinary relief are: “1) a likelihood of success on the merits; 2) he or she will

suffer irreparable harm if the injunction is denied; 3) granting relief will not result

in even greater harm to the non-moving party; and 4) the public interest favors such

relief.” Bimbo Bakeries USA, Inc. v. Botticello, 613 F.3d 102, 109 (3d Cir. 2010)

(quoting Miller v. Mitchell, 598 F. 3d 139, 147 (3d Cir. 2010)). Plaintiffs must

demonstrate all four factors before an injunction will issue. AT&T v. Winback, 42

F.3d at 1427.

      Indeed, the movant must establish the likelihood of success on the merits of

its causes of action and the likelihood that it will suffer irreparable injury if the

requested relief is not granted before the court can even consider public interest and

the balance of hardships. Iseley v. Dragovich, 236 F. Supp. 2d 472, 474 (E.D. Pa.

2002) (citing Tenafly Eruv Assoc. v. Borough of Tenafly, 309 F.3d 144 (3d Cir.

2002)); see also Hoxworth v. Blinder, Robinson & Co., 903 F.2d 186, 197 (3d Cir.

1990). Further, in the Third Circuit—even when the claim involves putative First

Amendment issues—“[e]stablishing a risk of irreparable harm is not enough. A

plaintiff has the burden of proving a ‘clear showing of immediate irreparable

injury.’” ECRI v. McGraw-Hill, Inc., 809 F.2d 223, 226 (3d Cir. 1987) (quoting


                                          17
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 21 of 30



Cont’l Grp., Inc. v. Amoco Chems. Corp., 614 F.2d 351, 359 (3d Cir. 1980)); see

also Conchatta, Inc. v. Evanko, 83 F. App’x 437, 442 (3d Cir. 2003) (collecting

cases) (“plaintiff must show irreparable harm in order to obtain preliminary

injunction” and, even in the First Amendment context, a plaintiff must do more than

make an “assertion of First Amendment rights” to satisfy the irreparable harm

standard instead, the plaintiff “must show a chilling effect on free expression”)

(further quotations and citations omitted).

      The above high hurdles become even higher where, as here, Plaintiffs seek a

mandatory injunction to change the status quo. “A primary purpose of a preliminary

injunction is maintenance of the status quo.” Acierno v. New Castle Cnty., 40 F.3d

645, 647 (3d Cir. 1994) (reversing entry of preliminary injunction in part because

the injunction, which compelled issuance of a building permit, fundamentally altered

the status quo).   The Third Circuit has cautioned that “when the preliminary

injunction is directed not merely at preserving the status quo but . . . providing

mandatory relief, the burden on the moving party is particularly heavy.” Punnett v.

Carter, 621 F.2d 578, 582 (3d Cir. 1980); see also United States v. Price, 688 F.2d

204, 212 (3d Cir. 1982) (mandatory injunctions should be used sparingly). Thus,

Plaintiffs must demonstrate that the exigencies of the situation demand such relief,

and that the facts and law are clearly in their favor. Sovereign Order of St. John of

Jerusalem-Knights of Malta v. Messineo, 572 F. Supp. 983 (E.D. Pa. 1983).


                                         18
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 22 of 30



          1.      Plaintiffs are unlikely to succeed on the merits of their arguments.

      Rather than being well-founded in law, Plaintiffs’ legal theories are foreclosed

by applicable precedent. They allege, in essence, that the alleged violations of the

Election Code enumerated in their Amended Complaint are, ipso facto, also

constitutional violations giving rise to liability under § 1983.

      As discussed more thoroughly in Part III.A., supra, the U.S. Supreme Court’s

addressed this line of thinking, and squarely rejected it, in Pennhurst. Because their

claims lack legal support, there is a low “likelihood of success on the merits.”

      Also, as discussed in Part III.A., supra, the Secretary and the Department lack

the authority (1) to control the acts of the individuals alleged to be at fault in this

matter, or (2) to grant the relief sought by Plaintiffs to order or otherwise effectuate

a new election.

          2.      Plaintiffs will suffer no irreparable harm if the injunction is denied.

      Defendants have no power to restrain or otherwise control the individuals

whom Plaintiffs allege engaged in the unlawful acts described in the Amended

Complaint. Nor do they have the ability, as sought by Plaintiffs, to provide for a

new election. To the extent they seek to enjoin the certification of the results of the

election, 8 that milestone is long since past (the Secretary and the Department having


8
  The actual request in the Amended Complaint is to “[e]njoin the results,” rather
than to enjoin any specific action Defendants might take. (Doc. 2, p. 28, Prayer for
Relief (a)).
                                           19
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 23 of 30



followed the directives of the Election Code in the absence of any court order to the

contrary; see generally 25 P.S. § 2521(f)). Because the Court’s injunction cannot

afford Plaintiffs the relief they apparently seek, they will gain no benefit from such

an order; denying them just such an empty gesture carries with it no harm, irreparable

or otherwise.

          3.    The burden of Plaintiffs’ proposed relief on Defendants outweighs
                the benefit to Plaintiffs.
      Because there is no benefit to be had by Plaintiffs from being ordered relief

as against the Secretary and Department, any burden whatsoever would counsel in

favor of denying the injunction under this analytical factor as well. Should the Court

order the Secretary and Department to act along the lines suggested in the Amended

Complaint, the Secretary and Department would be put in the unenviable position of

having to address an issue which would be more properly resolved by the House of

Representatives and district election officers themselves. The delicate prospect of

devising such a plan without trampling on the rights of these independent,

constitutionally-established independent officers should be burden enough to fail the

test on this prong as well.

          4.    The public interest would be poorly served by an injunction in this
                case.

      Even imagining that the Secretary and Department were in a position to bring

about a new election, as discussed in Part III.A., supra, they are unable to summarily


                                         20
        Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 24 of 30



replace the district election boards and/or party workers—who are the actual authors

of the alleged misdeeds Plaintiffs allege in the Amended Complaint. Without further

proceedings to provide for their replacement, those very same local election officials

would be in the same positions as they were on March 21, 2017, to misbehave as

Plaintiffs allege. In a district as gerrymandered as the 197th Legislative District, it

seems highly likely that the preferred candidate of the Democratic Party would

capture between 70 and 100 percent of the vote—as has occurred in every election

since      2012.    See      Pa.     Dep’t      of     State     Official     Returns,

http://www.electionreturns.pa.gov/Home/SummaryResults (select “Elections” tab,

then time period and type and year of election; then click on map of Philadelphia

County for results from 197th Legislative District) (Democratic nominees won with

75.39% of the vote in an April 2012 special election, 94.88% in the November 2012

general election, and won with 100% of the vote in the general elections of 2014 and

2016; under the current version of the district’s boundaries, the most a Republican

candidate had received before 2017 was 5.12% (in November 2012); the most for an

“independent” political body candidate was 20.72% (in April 2012)).

        Should the Court issue a valid order requiring a new special election in

response to the Amended Complaint, it seems likely the same district election

officers would be in place to engage in the same alleged misconduct, and the same

candidate would win by a similar margin as he did on March 21. The principal


                                          21
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 25 of 30



distinction from the status quo is likely to be that the state treasury is depleted by

several thousand dollars as it underwrites this electoral rerun.            See 25 P.S.

§ 2645(a)(1). Because “the law does not require a party to do a useless act,” Ass’n

of Westinghouse Salaried Emp. v. Westinghouse Elec. Corp., 283 F.2d 93, 96 (3d

Cir. 1960), and because the public interest is poorly served by dissipating tax dollars

in this fashion, Plaintiffs’ request for injunctive relief fails this prong as well.

           5.     Plaintiffs have not met the burden to obtain injunctive relief.

      As previously stated, the four-factor test for injunctive relief is conjunctive;

failure on any one dooms a plaintiff’s request. AT&T v. Winback, 42 F.3d at 1427.

Simply put, the relief sought by Plaintiffs in the Amended Complaint fails to satisfy

even one of the factors and injunctive relief is therefore inappropriate.

      E.        Plaintiffs Have Failed to Name Indispensable Parties in This
                Action.
      Plaintiffs’ Amended Complaint is replete with allegations of wrongdoing, but

all the discrete acts which they allege occurred were done (or not done) by the local

boards of election. See, e.g., Doc. 2, ¶ 24(a) (“The Election Board workers . . .

were telling voters how to vote . . . .”) (emphasis added).

       Though Plaintiffs allege numerous incidents in which members of the district

election boards purportedly violated Plaintiffs’ rights, they declined to name any of

these actual alleged wrongdoers as defendants. To the extent Plaintiffs seek an order

compelling a new election (presumably conducted in conformity with Plaintiffs’

                                            22
        Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 26 of 30



idiosyncratic views of their constitutional rights), the Court would be limited in its

ability to grant that relief absent some ability to direct the performance of the district

election boards (or to effectuate their ouster) absent a judgment or decree binding

against them, which would require their presence as parties in this matter. Absent

their presence, “the court cannot accord complete relief,” and each district election

board member “must be joined as a party.”               Fed. R. Civ. P. 19(a)(1)(A).

Alternatively, Rule 19(a)(1)(B) also requires joinder of the district election officers,

in that an adverse decision in this matter would “impair or impede” their abilities to

protect their entitlements to exercise the rights and privileges of their office pursuant

to the Pennsylvania Constitution. See Pa. Const. art. VII, § 11; Huber v. Taylor, 532

F.3d 237, 248 (3d Cir. 2008) (“[U]nder Rule 19(a)(2)(i), the Court must consider the

effect, if any, that resolution of the dispute among the named parties will have on an

absent party.”). 9




9
  Former Rule 19(a)(2)(i) contains the same text as current Rule 19(a)(1)(B); the
language of the rules was revised in 2007 “to make them more easily understood”
and the changes were “intended to be stylistic only.” Fed. R. Civ. P. 19 advisory
committee note on 2007 Amendment.
                                           23
         Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 27 of 30



   IV.      CONCLUSION

         For the reasons stated in this brief, this Honorable Court should dismiss

Plaintiffs’ Amended Complaint with prejudice, as set forth in the attached proposed

order.

                                              Respectfully submitted,

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                                              Elections and Legislation

         DATE: June 19, 2017




                                         24
      Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 28 of 30



             IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LUCINDA LITTLE, et al.,
                   Plaintiffs,

                     v.                                2:17-CV-01562
                                                    (JUDGE SLOMSKY)
EMILIO VASQUEZ, et al.,
                  Defendants.


                          CERTIFICATE OF SERVICE

      I, TIMOTHY E. GATES, certify that on June 19, 2017, I served this Motion

to Dismiss of Secretary Cortés and Department of State Bureau of Commissions,

Elections and Legislation and Brief of Secretary Cortés and Department of State

Bureau of Commissions, Elections and Legislation in Support of Motion to Dismiss

Plaintiffs’ Amended Complaint by Notice of Docket Activity sent automatically by

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                                      25
       Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 29 of 30



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                                        26
Case 2:17-cv-01562-JHS Document 11 Filed 06/19/17 Page 30 of 30




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DATE: June 19, 2017




                               27
